Case No. 1:08-cv-01741-ZLW Document 1 filed 08/06/08 USDC Colorado pgi1of4
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

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(To be supplied by the court)

Civil Action No.

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MbtAe ft. Kole. 7 , Plaintiff, AUG ~ ¢ 2008

Songs. mM. ton kolmYz,
Beil Coulthy DEMS ArhT,

, Defendant(s).

PRISONER'S MOTION AND AFFIDAVIT
FOR LEAVE TO PROCEED PURSUANT TO 28 U.S.C. § 1915

I request leave to commence this civil action without prepayment of fees or security

therefor pursuant to 28 U.S.C, § 1915. In support of my request, I declare that:

1, iam unable to pay such fees or give security therefor.

2. Iam entitled to redress. ~

3. The nature of this action is:

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(Rev. 11/01/04)

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4, My assets and their value are listed below: (attach an additional page if necessary)

(Assets mav inclide incama fram amunlaumant wane enc et weewey pesos, lestanusses wey 1a

insurance payments, Social Security, Veteran's Administration benefits, disability pensions, Worker's
Compensation, unemployment benefits, gifts or inheritances, cash, funds in bank accounts, real estate,
stocks, bonds, notes, automobiles or other valuable property (excluding ordinary household furnishings and
clothing), or any other source of income.)

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5. Are you in imminent danger of serious physical injury?

___ Yes x No (CHECK ONE). If you answered yes, briefly explain your answer:

DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury that the information in this motion and affidavit is true
and correct. See 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Executed on Sf ff OE
(Date)

Lote (LE

(Prisoner’s Original Signature)

Required Certification
You must attach to this motion and affidavit a certified copy of your trust fund account
statement (or institutional equivalent) for the six-month period immediately preceding the filing
of this action. You must obtain the certified copy of your trust fund account statement (or
institutional equivalent) from the appropriate official of each penal institution at which you are or
were confined during the six-month period.

(Rev, 11/01/04) 2

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COLORADO DEPARTMENT OF CORRECTIONS
Colorado Springs, Colorado
“Statement of Account Activity**

Period: 02/01/2008 - 07/28/2008
Printed: 07/28/2008

Name: POOLE, ARCHIE J
Number: 90046

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AVON

Date:Time Description TranAmt Balance Before W/H Type Amount Total _—_ Balance
02/01/08 00:00) Beginning Balance -0.49 0.00 0.00 0.00
62/01/08 17:08] 1 CUSTODIAN |! 13.80 13.31 13.31 |MANDATORY 2.75 2.75 10.56
02/25/08 15:19] POSTAGE-DEBIT -5.21 8.10 8.10 2.75 5.35
02/27/08 09:04 | Canteen #5712925 Hold 8.10 | CANTEEN 3.06 5.75 2.35
02/28/08 06:59| Canteen Order #5712925 -3.00 5.10 5.10 2.75 2.35
02/29/08 00:48| CHILD SUPPORT-01190570901 0.55 4.55 4.55 2.20 2.35
02/29/08 00:55) CHILD SUPPORT-06943039 -0.41 4.14 4.14 1.79 2,35
02/29/08 01:05] CHILD SUPPORT-08564346 -0.41 3.73 3.73 1.38 2.35
02/29/08 02:38] RESTITUTION-95CR4635 -1.38 2.35 2.35 0.00 2.35
03/04/08 10:18] 1 CUSTODIAN | 0.60 2.95 2.95 0.00 2,95
03/04/08 18:08)/1A&0 2.53 5.48 5.48 0.00 5.48
03/08/08 23:26 | JPAY CREDIT 40,00 45.48 45.48 | MANDATORY 8.00 8.00 37.48
03/10/08 14:18] XEROX-DEBIT -1.70 43.78 43.78 8.00 35.78
03/12/08 09:46 | Canteen #5743108 Hold 43.78 | CANTEEN 6.77 14.77 29.01
03/13/08 09:15] MONEY ORDER-DEBIT -20.70 23.08 23.08 14.77 8.31
03/14/08 09:24 | Canteen Order #5743108 -8.77 16.31 16,31 8.00 8.31
03/19/08 09:17 | Canteen #5760572 Held 16.31| CANTEEN 8.25 16.25 0,06
03/20/08 07:38] Canteen Order #5760572 -8.25 8.06 8.06 8.00 0.06
03/31/08 09:09] CHILD SUPPORT-01190570901 -1.60 6.46 6.46 6.40 0.06
03/31/08 09:17 | CHILD SUPPORT-06943039 -1.20 5.26 6.26 5,20 0.06
03/31/08 09:35] CHILD SUPPORT-08564346 -1.20 4,06 4.06 4.00 0.06
03/31/08 12:23 | RESTITUTION-95CR4635 -4,00 0.06 6.06 0.00 0.06
04/01/08 21:5911A&0 2.07 2.13 2.13| MANDATORY 0.41 0.41 1.72
04/03/08 06:50) 1 KITCH UTIL. 6.60 8.73 8.73] MANDATORY 1.32 1.73 7.00
04/09/08 10:15] Canteen #5801217 Hold 8.73] CANTEEN 6.89 8.62 0.11
04/10/08 14:29] HYGIENE ITEMS DEBIT -0.54 8.19 8.19 8.62 0.00
04/11/08 10:09) Canteen Order #5801217 -6.89 1.30 1.30 1.73 0.00
04/30/08 00:48 | CHILD SUPPORT-01190570901 ~0.34 0.96 0.96 1.39 0.00
04/30/08 00:55 | CHILD SUPPORT-06943039 -0.26 0.70 0.70 1.13 0.06
04/30/08 01:05} CHILD SUPPORT-08564346 -0.26 0.44 0.44 0.87 0.00
04/30/08 02:44 | RESTITUTION-95CR4635 -0.87 -0.43 0.00 0.00 0.00
05/01/08 12:45] PAYROLL-CREDIT 0.23 -0.20 0.12 0.00 0.12
05/02/08 17:40] 1 KITCH.UTILII 1.20 7.00 1.00 0.00 1.00
05/06/08 13:34| 1 F/S PM FRIVSAT 11.40 12.40 12.40) MANDATORY 2.28 2.28 10,12
05/30/08 00:51 | CHILD SUPPORT-01196570901 -0.46 11.94 11.94 1.82 10.12
05/30/08 00:58 | CHILD SUPPORT-06943039 -0.34 11.60 11.60 1.48 10.12
05/30/08 01:10 | CHILD SUPPORT-08564346 -0.34 11.26 11.26 1.14 10.12
05/30/08 02:50 | RESTITUTION-95CR4635 -1.14 10,12 10.12 0.00 10.12
06/02/08 23:40 | JPAY CREDIT 50,00 60.12 60.12] MANDATORY 10.00 10.00 50.12
06/04/08 10:46 | Canteen #5920167 Hold 60.12] CANTEEN 49,49 59.49 0.63
06/06/08 06:32 | Canteen Order #5920167 -49.49 10.63 10.63 10.00 0.63
06/06/08 17:32] 1 F/S PM FRISAT 3.00 13.63 13.63 | MANDATORY 0.60 10.60 3.03
06/06/08 18:48] 1 LL UNASSIGNED 3.91 17.54 17.54 |MANDATORY 0.79 11.39 6.15
06/11/08 11:58] Canteen #5939164 Hold 17.54| CANTEEN 6.05 17.44 0.10
06/13/08 08:53] Canteen Order #5939164 -6.05 11.49 11.49 11.39 0.10
06/30/08 00:52 | CHILD SUPPORT-01190570901 -2.28 9.21 9.21 9.11 0.10
06/30/08 01:00} CHILD SUPPORT-06943039 -1.71 7.50 7.50 7.40 0.10
06/30/08 01:12} CHILD SUPPORT-08564346 -1.71 5.79 5,79 5.69 0,70

NOTICE: This statement may not include most recent Withdrawals or Deposits.

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. 1:08-cv- - lor 4of 4
» CASE NO. ROS N-ONESLORADS BEPARTMENT OF CORRECTIONS ~ OFACO. PO 4 0
Colorado Springs, Colorado

**Statement of Account Activity**
Period: 02/01/2008 - 07/28/2008
Printed: 07/28/2008

Name: POOLE, ARCHIE J
Number: 90046

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Senne ee Lr AE AD De eUWAALIAR

Date:Time Description TranAmt Balance Before W/H Type Amount Total Balance FC
06/30/08 03:00} RESTITUTION-95CR4635 -5.69 0.10 0.10 0.00 0.10) CL
07/03/08 08:25} Canteen Credit #5984107 4.05 4.15 4,15 0.00 4.15)/CL
07/07/08 18:54] 1 CUSTODIAN 12.60 16.75 16.75] MANDATORY 2.52 2.52 14,23) CL
07/16/08 12:01 | Canteen #6014926 Hold 16.75] CANTEEN 13.80 16.32 0.43
07/16/08 14:44} POSTAGE-DEBIT -0.42 16.33 16.33 16.32 0.01/CL
07/18/08 06:58 | Canteen Order #6014926 -13.80 2.53 2.53 2.52 0.017/CL
07/28/08 23:58 | Ending Balance 2.53 2.53 2.52 0.01

Total Deposits: 151.99
Total Withdrawals: 148.97
Account Information as of 07/28/2008 8:11PM
| Status: ACTIVE Current Balance: 2.53 Total Money In Hold: $0.00
Total Reserved/Encumbered: $2.52 Available Balance $0.01
Statement Information

Date:Time reflects the transaction date and time of deposits and withdrawals to the account during the statement period.
Description is a brief memorandum describing the transaction.
Tran Amt is the amount of the transaction; deposits are shown as a positive number, withdrawals are shown as a negative number.

Balance is the actual balance of the account. Ail deposits and withdrawals are added and subtracted from the ‘Balance’. If an account has a negative balance
an ‘Available Balance’ will be derived according to AR 200-2.

Available Before W/H_ is the derived available balance where 50% of deposits are made available when the actual account balance prior to deposit is a
negative amount (Ref: AR 200-2). This amount is derived prior to mandatory withhalding.

Encumbrances are amounts placed on hold pending further processing by the banking system, such as when a canteen order is posted or a deposit
is subject to mandatory garnishment rules. The amount, type of hold, and a total (as of the Date:Time} is reported.

Available Balance show monies available for withdrawal at the end of the transaction. The time precision for all transactions is to the minute;
encumbrance total may duplicate for multiple transactions if the transaction date and time are identical.

FC (Facility Code) is the offender's facility assignment at the date and time the transaction was posted to the account, not the originating source of the
transaction.

NOTICE: This statement may not include most recent Withdrawals or Deposits.
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